Case 2:19-cv-14199-DMM Document 63 Entered on FLSD Docket 06/08/2020 Page 1 of 35



                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                    FT. PIERCE DIVISION

   CENTER FOR BIOLOGICAL DIVERSITY;               )
   CALUSA WATERKEEPER; and                        )
   WATERKEEPER ALLIANCE,                          )
                                                  )
       Plaintiffs,                                )
                                                  )            CASE NO.: 2:19-cv-14199-DMM
           v.                                     )
                                                  )
   U.S. ARMY CORPS OF ENGINEERS;                  )
   COL. ANDREW KELLY, in his                      )
   official capacity as Commander and District    )
   Engineer of the U.S. Army Corps of Engineers;  )
   U.S. DEPARTMENT OF THE INTERIOR;               )
   DAVID BERNHARDT, in his official capacity as )
   Secretary of the U.S. Department of Interior;  )
   NATIONAL MARINE FISHERIES SERVICE;             )
   DR. ROY E. CRABTREE, in his official capacity )
   as Regional Administrator of the Southeast     )
   Regional Office of National Marine Fisheries   )
   Service; U.S. FISH AND WILDLIFE SERVICE; )
   and AURELIA SKIPWITH,1 in her                  )
   official capacity as Director of U.S. Fish and )
   Wildlife Service,                              )
                                                  )
                 Federal Defendants.              )

           PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JUDGMENT AND
                            MEMORANDUM OF LAW IN SUPPORT




   1
    Pursuant to Rule 25(d) of the Federal Rules of Civil Procedure, Aurelia Skipwith, in her official
   capacity as Director of the U.S. Fish and Wildlife Service, is automatically substituted for
   Margaret Everson.

                                                   i
Case 2:19-cv-14199-DMM Document 63 Entered on FLSD Docket 06/08/2020 Page 2 of 35



                                                       TABLE OF CONTENTS

   MOTION FOR PARTIAL SUMMARY JUDGMENT.................................................................. 1
   MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFFS’ MOTION FOR PARTIAL
   SUMMARY JUDGMENT ............................................................................................................. 1
   INTRODUCTION .......................................................................................................................... 1
   LEGAL FRAMEWORK ................................................................................................................ 2
          I.         The National Environmental Policy Act Requires the Corps to Immediately
                     Supplement Its LORS NEPA Analysis ......................................................................... 2
          II.        The Administrative Procedure Act Requires Courts to Hold Unlawful or Set Aside
                     Decisions that are Arbitrary or Capricious and to Compel Agency Action
                     Unreasonably Delayed ................................................................................................... 4
   FACTUAL BACKGROUND ......................................................................................................... 4
   ARGUMENT .................................................................................................................................. 6
          I.         The Corps’ Failure to Immediately Supplement its 2007 SEIS Regarding Harmful
                     Algal Blooms Violates NEPA and the APA .................................................................. 7
                A. The Corps Did Not Examine Whether LORS Would Influence HABs in Its 2007
                   SEIS and Information Available to the Corps Since that Time Indicates That
                   Significant Adverse Impacts Are Occurring ............................................................... 8
                B.     The Corps Failed to Consider the Significant New Circumstances and Information
                       Regarding the Environmental Impacts of Operating under LORS Beyond 2010. .... 17
                C.     No Other Action the Corps Has Taken Relieves the Corps of Its NEPA Obligations
                       to Supplement LORS................................................................................................. 18
          II.        Conservation Organizations Have Standing................................................................. 19
          III. This Court May Exercise Its Discretion in Tailoring Conservation Organizations’
               Requested Relief........................................................................................................... 19
   CONCLUSION ............................................................................................................................. 20




                                                                         ii
Case 2:19-cv-14199-DMM Document 63 Entered on FLSD Docket 06/08/2020 Page 3 of 35



                                                   TABLE OF AUTHORITIES


   Cases
   AquAlliance v. United States Bureau of Reclamation,
     287 F. Supp. 3d 969 (E.D. Cal. 2018) ...................................................................................... 16
   Balt. Gas & Elec. Co. v. Natural Res. Def. Council,
     462 U.S. 87 (1983) ...................................................................................................................... 2
   Black Warrior Riverkeeper, Inc. v. U.S. Army Corps of Eng’rs,
     781 F.3d 1271 (11th Cir. 2015) ................................................................................................ 20
   Ctr. for Biological Diversity v. Bureau of Land Mgmt.,
     937 F. Supp. 2d 1140 (N.D. Cal. 2013) ...................................................................................... 8
   Defs. of Wildlife v. Bureau of Ocean Energy Mgmt., Regulation, & Enf't.,
     791 F. Supp 2d 1158 (S.D. Ala. 2011) ..................................................................................... 15
   Defs. of Wildlife v. Salazar,
     877 F. Supp. 2d 1271 (M.D. Fla. 2012) .................................................................................... 20
   Envtl. Def. Fund v. Marsh,
     651 F.2d 983 (5th Cir. 1981) .................................................................................................... 20
   Fed. Power Comm’n v. Idaho Power Co.,
     344 U.S. 17 (1952) .................................................................................................................... 20
   Friends of the Clearwater v. Dombeck,
     222 F.3d 552 (9th Cir. 2000) .................................................................................................... 15
   Idaho Sporting Cong., Inc. v. Alexander,
     222 F.3d 562 (9th Cir. 2000) ................................................................................................ 3, 19
   Int'l Union v. Brock,
      477 U.S. 274 (1986) .................................................................................................................. 19
   Kern v. BLM,
     284 F.3d 1062 (9th Cir. 2002) .................................................................................................... 3
   Klamath Siskiyou Wildlands Ctr. v. Boody,
     468 F.3d 549 (9th Cir. 2006) .................................................................................................... 10
   Lemon v. McHugh,
     668 F. Supp. 2d 133 (D.D.C. 2009) ............................................................................................ 8
   Lujan v. Defs. of Wildlife,
     504 U.S. 555 (1992) .................................................................................................................. 19
   Marsh v. Or. Nat. Res. Council,
    490 U.S. 360 (1989) .................................................................................................... 7, 9, 10, 18
   Miccosukee Tribe of Indians of Florida v. United States,
     No. 08-21747-CIV-UNGARO, 2008 WL 11332080 (S.D. Fla. Nov. 14, 2008)...................... 18



                                                                        iii
Case 2:19-cv-14199-DMM Document 63 Entered on FLSD Docket 06/08/2020 Page 4 of 35



   Miccosukee Tribe of Indians v. United States,
     420 F. Supp. 2d 1324 (S.D. Fla. 2006) ............................................................................... 17, 20
   Miccosukee Tribe of Indians v. United States,
     566 F.3d 1257 (11th Cir. 2009) ................................................................................................ 16
   Motor Vehicle Mfr. Ass’n. v. State Farm Mut. Auto. Ins. Co.,
    463 U.S. 29 (1983) .................................................................................................................... 16
   N.M. ex rel. Richardson v. BLM,
     565 F.3d 683 (10th Cir. 2009) .................................................................................................... 3
   Nat’l Parks Conservation Ass’n v. Babbitt,
     241 F.3d 722 (9th Cir. 2001) .................................................................................................... 14
   Nat’l Parks Conservation Ass’n v. Semonite,
     916 F.3d 1075 (D.C. Cir. 2019) ................................................................................................ 14
   Norton v. S. Utah Wilderness All.,
     542 U.S. 55 (2004) ...................................................................................................................... 7
   Ouachita Watch League v. Jacobs,
     463 F. 3d 1163 (11th Cir. 2006) ............................................................................................... 19
   Pac. Coast Fed'n of Fishermen's Ass'n v. Gutierrez,
     606 F. Supp. 2d 1122 (E.D. Cal. 2008) .................................................................................... 17
   Piedmont Envtl. Council v. United States DOT,
     159 F. Supp. 2d 260 (W.D. Va. 2001) ........................................................................................ 3
   Robertson v. Methow Valley Citizen Council,
     490 U.S. 332 (1989) .................................................................................................................... 2
   S. Yuba River Citizens League v. Nat’l Marine Fisheries Serv.,
      723 F. Supp. 2d 1247 (E.D. Cal. 2010) .................................................................................... 17
   Sierra Club v. Flowers,
      526 F.3d 1353 (11th Cir. 2008) ................................................................................................ 20
   Sierra Club v. U.S. Army Corps of Eng’rs,
      295 F.3d 1209 (11th Cir. 2002) .................................................................................................. 8
   Wild Fish Conservancy v. Irving,
     221 F. Supp. 3d 1224 (E.D. Wash. 2016) ................................................................................. 16
   Wilderness Watch v. Mainella,
     375 F.3d 1085 (11th Cir. 2004) ................................................................................................ 20
   Wyoming v. USDA,
    661 F.3d 1209 (10th Cir. 2011) ................................................................................................ 15




                                                                        iv
Case 2:19-cv-14199-DMM Document 63 Entered on FLSD Docket 06/08/2020 Page 5 of 35



   Statutes
   5 U.S.C. § 551(13) .......................................................................................................................... 4
   5 U.S.C. § 704 ................................................................................................................................. 4
   5 U.S.C. § 706(1) ............................................................................................................................ 4
   5 U.S.C. § 706(2)(A)....................................................................................................................... 4
   5 U.S.C. § 706(2)(D)....................................................................................................................... 4
   42 U.S.C. § 4321 ............................................................................................................................. 2
   42 U.S.C. § 4332(2)(C) ............................................................................................................... 2, 3


   Legislative Materials
   S. Doc. No. 248, 79th Cong., 2d Sess. (1946) ................................................................................ 4


   Administrative and Executive Materials
   33 C.F.R. § 230.1 ............................................................................................................................ 8
   40 C.F.R. § 1500.1(a)...................................................................................................................... 2
   40 C.F.R. § 1500.1(b) ..................................................................................................................... 3
   40 C.F.R. § 1502.16 ........................................................................................................................ 3
   40 C.F.R. § 1502.22 ........................................................................................................................ 3
   40 C.F.R. § 1502.9(c).................................................................................................................... 18
   40 C.F.R. § 1502.9(c)(1) ................................................................................................................. 8
   40 C.F.R. § 1502.9(c)(1)(i) ............................................................................................................. 3
   40 C.F.R. § 1502.9(c)(1)(ii) ...................................................................................................... 3, 13
   40 C.F.R. § 1508.14 ........................................................................................................................ 2
   40 C.F.R. § 1508.27 ........................................................................................................................ 8
   40 C.F.R. § 1508.27(b) ................................................................................................................. 10
   40 C.F.R. § 1508.27(b)(2)......................................................................................................... 8, 13
   40 C.F.R. § 1508.27(b)(3)......................................................................................................... 8, 13
   40 C.F.R. § 1508.27(b)(4)......................................................................................................... 8, 13
   40 C.F.R. § 1508.27(b)(5)............................................................................................................. 13
   40 C.F.R. § 1508.27(b)(7)............................................................................................................. 16
   40 C.F.R. § 1508.27(b)(9)......................................................................................................... 8, 15
   40 C.F.R. § 1508.7 .......................................................................................................................... 3
   40 C.F.R. § 1508.8 .......................................................................................................................... 3


                                                                           v
Case 2:19-cv-14199-DMM Document 63 Entered on FLSD Docket 06/08/2020 Page 6 of 35



   40 C.F.R. § 1508.8(b) ..................................................................................................................... 3
   40 C.F.R. §§ 1508.27(b)(4)........................................................................................................... 14
   40 C.F.R. §§ 1508.27(b)(5)........................................................................................................... 14
   Forty Most Asked Questions Concerning CEQ’s National Environmental Policy Act
     Regulations, 46 Fed. Reg. 18,026 (March 23, 1981) ............................................................ 7, 18




                                                                        vi
   Case 2:19-cv-14199-DMM Document 63 Entered on FLSD Docket 06/08/2020 Page 7 of 35




                           TABLE OF ADMINISTRATIVE RECORD CITATIONS


Agency Document                                         AR Document         Bates Page      Motion Page
                                                        Number              Number(s)       Number(s)
19990323 Fed Reg Vol 64 No. 55 NOAA ‐ Hawksbill         USACE Doc. No. 3    000011-000037   15
and Leatherback Sea Turtle Final Designation
19990701 Trainer and Baden 1999_High affinity           USACE Doc. No. 4    000038-000047   15
binding of red tide neurotoxins to marine mammal
brain
19990702 Trainer, High Affinity binding of red tide     USACE Doc. No. 5    000048-000057   15
neurotoxins to marine mammal brain
20000405 Fed Reg Vol 65 No. 66 ‐ NOAA NMFS‐             USACE Doc. No. 6    000058-000076   15
Johnson's Seagrass Final Designation
20000900 Anderson, Estimated Annual Economic            USACE Doc. No. 7    000077-000172   15
Impacts from Harmful Algal Blooms (HABs) in the
United States
20020200 Kirkpatrick 2002_Florida Red Tides             USACE Doc. No. 12   000265-000273   15
Manatee brevetoxicosis and lung models
20050609 Flewelling 2005_marinemammals_redtide          USACE Doc. No. 23   000372-000377   15
20071015 FWS Biological Opinion to USACE -              USACE Doc. No. 64   000930-001009   15
LORS ESA Consultation
20071100 USACE Final 1stSUPPlemental                    USACE Doc. No. 65   001010-001830   1, 2, 4, 5, 7, 8,
Environmental Impact Statement RE LORS                                                      9, 10, 11, 15, 16,
                                                                                            17, 18
20080300 Backer et al 2008 Recreational exposure        USACE Doc. No. 68   002443-002460   13
20080500 Paerl, Blooms like it hot                      USACE Doc. No. 71   002574-002576   13, 23
20080704 CDC, Illness Associated with Red               USACE Doc. No. 72   002577-002581   13
Tide_Nassau County, Florida 2007
20080712 Watkins                                        USACE Doc. No. 73   002582-002606   13
2008_neurotoxic_shellfish_poisoning
20081000 Pierce, Harmful algal toxins of the Florida    USACE Doc. No. 74   002607-002622   13
red tide (karenia brevis), natural chemical stressors
20081107 Erdner, Centers for Oceans and Human           USACE Doc. No. 75   002623-002639   13
Health‐ A unified approach to the challenge of
harmful algal blooms
20081201 Anderson, Harmful algal blooms and             USACE Doc. No. 77   002659-002689   13
eutrophication, Examining linkages
20081216 Olascoaga,MJ_Tracing the early                 USACE Doc. No. 78   002690-002699   13
development of harmful algal blooms on the West
Florida shelf
20090000 Backer, Impacts of Florida red tides on        USACE Doc. No. 79   002700-002704   13
coastal communities
20090000 Landsberg, Karenia brevis red tides,           USACE Doc. No. 80   002705-002714   13, 22
brevetoxins in the food web and impacts on natural
resources



                                                         vii
   Case 2:19-cv-14199-DMM Document 63 Entered on FLSD Docket 06/08/2020 Page 8 of 35



20090000 Metcalf, Cyanobacteria, neurotoxins and       USACE Doc. No. 81    002715-002720   8, 13, 18
water resources‐are there implications for human
neurodegenerative disease
20090000 Pablo, Cyanobacterial nerotoxin BMAA in       USACE Doc. No. 82    002721-002731   13
ALS and Alzheimer's disease
20090100 Butler et al. California EPA ‐ Microcystins   USACE Doc. No. 84    002834-002854   13, 22
a brief overview of their toxicity
20090109 Walsh, Isotopic evidence for dead fish        USACE Doc. No. 85    002855-002877   13
maintenance of florida red tides
20090200 Paerl, Climate Change‐ A catalyst for         USACE Doc. No. 86    002878-002889   13, 23
global expansion of harmful cyanobacterial blooms
20090318 _Gilbert,P_Grazing by Karenia brevis on       USACE Doc. No. 87    002890-002904   13
Synechococcus enhances its growth rate and may help
sustain booms
20090800 Hoagland, The Costs of Respiratory            USACE Doc. No. 89    002914-002918   13
Illnesses Arising from Florida Gulf Coast Karenia
brevis blooms
20091125 Brand, LR 2009. Human exposure to             USACE Doc. No. 94    003004-003015   13
cyanobacteria and BMAA
20091206 Lehman_InitialImpactsOfMicrocystisAer         USACE Doc. No. 95    003016-003035   13
20091212 Walsh, Effects of brevetoxin exposure on      USACE Doc. No. 96    003036-003046   13
the immune system of loggerhead sea turtles
20100201 Kirkpatrick, Inland Transport of              USACE Doc. No. 102   003082-003092   13
Aerosolized Florida Red Tide Toxins
20100510 Walsh 2010_effects of brevetoxin exposure     USACE Doc. No. 112   003126-003136   13
on the immune system of loggerheads
20100725 Biefang, Prominent Human Health Impacts       USACE Doc. No. 132   003306-003321   8, 13, 18, 21, 22
from Several Marine Microbes_History, Ecology, and
Public Health Implications
20100901 Brand et                                      USACE Doc. No. 139   003334-003349   13, 21, 22
al_Cyanobacterial_blooms_and_the_occurrence of the
neurotoxin BMAA in SFL aquatic food webs
20100901 Nierenberg, Florida Red Tide Perception‐      USACE Doc. No. 140   003350-003366   13
Residents versus tourists
20101000 ‐ 57_DOI FWS ‐ JN Ding Darling National       USACE Doc. No. 143   003370-003760   13, 20, 22
Wildlife Refuge_2010 Comp Conservation Plan
20101203_Olascoaga,MJ_Isolation on the West FL         USACE Doc. No. 146   003813-003824   13
shelf with implications for red tides and pollutant
dispersal in the Gulf of Mexico
20101220 Banack, The Cyanobacteria Derived Toxin       USACE Doc. No. 147   003825-003838   8, 13, 18, 21
BetaNMethylaminoLAlanine and Amyotrophic
Lateral Sclerosis
20110000 Pierce, Compositional changes in              USACE Doc. No. 148   003839-003844   13
neruotoxins and their oxidative derivatives from the
dinoflagellate, karenia brevis, i
20110101 Fleming, Review of Florida Red Tide and       USACE Doc. No. 149   003845-003865   6, 13, 15
Human Health Effects




                                                        viii
   Case 2:19-cv-14199-DMM Document 63 Entered on FLSD Docket 06/08/2020 Page 9 of 35



20110101 Kirkpatrick, Aersolized Red Tide Toxins          USACE Doc. No. 150   003866-003879   13
(brevetoxins) and asthma‐continued health effects
after 1 hour beach exposure
20110310 Twiner et al_2011_concurrent exposure of         USACE Doc. No. 162   003966-003980   6
bottlenose_dolphins to multiple algal toxins in
Sarasota Bay FL
20110620 Moss, Allied Attack‐Climate Change and           USACE Doc. No. 172   003999-004003   6
Eutrophication
20110628 Errera, Osmostic Stress triggers toxin           USACE Doc. No. 173   004004-004011   6
production by the dinoflagellate karenia brevis
20110628_Errera,R_and L_Campbell_Osmotic stress           USACE Doc. No. 174   004012-004018   6
triggers toxin production by the dinoflagellate Karenia
brevis
20110705 Morey,J_ Transcriptomic response of the          USACE Doc. No. 175   004019-004072   6
red tide dinoflagellate, Karenia brevis , to nitrogen
and phosphorus depletion and addition _ BMC
Genomics _ Full Text
20110921 Phlips, Climatic Influences on                   USACE Doc. No. 177   004086-004106   6
Autochthonous and Allochthonous Phytoplankton
Blooms in a Subtropical Estuary
20111123 Rzymski et al. 2011 Gastroenteritis and          USACE Doc. No. 179   004124-004127   6, 15
liver carcinogenesis induced by cyanobacterial toxins
20120115 Echevarria 2012_effects of karenia brevis        USACE Doc. No. 181   004389-004398   6, 15
on clearance rates and bioaccumulation of brevetoxins
20120301 Holtcamp, The emerging science of BMAA           USACE Doc. No. 184   004471-004477   1, 6, 11, 14, 15
20120815 Twiner et al_2012_Comparative analysis of        USACE Doc. No. 187   004505-004523   6, 15
three brevetoxin‐associated bottlenose_dolphin
mortality events in the FL panhandle region
20130000_Garrett_etal_Red Tides on the West               USACE Doc. No. 189   004537-004538   6
Florida Shelf brochure
20130100 Havens, K, Deep Problems in Shallow              USACE Doc. No. 190   004539-004542   6
lakes, Why Controlling Phosphorus Inputs May Not
Restore Water Quality
20130200 Wiedenmann et al. 2013 Nutrient                  USACE Doc. No. 193   004587-004591   6, 16
enrichment can increase the susceptibility of reef
corals to bleaching
20131000 Castle 2013_Coyotes_Dogs_RedTide                 USACE Doc. No. 197   004626-004627   6
20131023 Zanchett, Cyanobacteria and                      USACE Doc. No. 198   004628-004649   1, 6, 11, 14, 16
Cyanotoxins_From Impacts on Aquatic Ecosystems
and Human Health to Anticarcinogenic
20131125 Walker and Gilliam 2013 Determining the          USACE Doc. No. 199   004650-004665   6, 13
Extent and Characterizing Coral Reef Habitats of the
N
20131229 D'Angelo and Wiedenmann 2014 Impacts             USACE Doc. No. 200   004666-004677   6
of nutrient enrichment on coral reefs
20140000 Index Map of Critical Habitat Units for the      USACE Doc. No. 201   004678-004678   6
Northwest Atlantic Ocean Loggerhead Sea Turtle
DPS



                                                            ix
  Case 2:19-cv-14199-DMM Document 63 Entered on FLSD Docket 06/08/2020 Page 10 of 35



20140000 Loggerhead Sea Turtle Critical Habitat       USACE Doc. No. 202   004679-004679   6
Map Units LOGG‐T‐NC‐[01,02,03,04]
20140000 Houck article_2014_04_44.10426               USACE Doc. No. 203   004680-004696   6
20140000 Index Map of Northern Gulf of Mexico         USACE Doc. No. 204   004697-004697   6
Recovery Critical Habitat Units for the Northwest
Atlantic Ocean Loggerhead Sea Turtle DPS
20140000 Index Map of Peninsula Florida Recovery      USACE Doc. No. 205   004698-004698   6
Critical Habitat Units for the Northwest Atl
20140000 Index Map of the Dry Tortugas Recovery       USACE Doc. No. 206   004699-004699   6
Critical Habitat Units for the Northwest Atla
20140000 Index Map of the Northern Recovery           USACE Doc. No. 207   004700-004700   6
Critical Habitat Units for the Northwest Atlantic
20140000 Killberg‐Thoreson, Nutrients released from   USACE Doc. No. 208   004701-004710   6
decaying fish support microbial growth in
20140000 Loggerhead Sea Turtle Critical Habitat       USACE Doc. No. 209   004711-004711   6
Map Units LOGG‐T‐AL‐[01,02,03]
20140000 Loggerhead Sea Turtle Critical Habitat       USACE Doc. No. 210   004712-004712   6
Map Units LOGG‐T‐FL‐[01,02,03]
20140000 Loggerhead Sea Turtle Critical Habitat       USACE Doc. No. 211   004713-004713   6
Map Units LOGG‐T‐FL‐[04,05]
20140000 Loggerhead Sea Turtle Critical Habitat       USACE Doc. No. 212   004714-004714   6
Map Units LOGG‐T‐FL‐[06,07,08]
20140000 Loggerhead Sea Turtle Critical Habitat       USACE Doc. No. 213   004715-004715   6
Map Units LOGG‐T‐FL‐[09,10,11,12,13,14]
20140000 Loggerhead Sea Turtle Critical Habitat       USACE Doc. No. 214   004716-004716   6
Map Units LOGG‐T‐FL‐[15]
20140000 Loggerhead Sea Turtle Critical Habitat       USACE Doc. No. 215   004717-004717   6
Map Units LOGG‐T‐FL‐[16]
20140000 Loggerhead Sea Turtle Critical Habitat       USACE Doc. No. 216   004718-004718   6
Map Units LOGG‐T‐FL‐[17,18,19,20]
20140000 Loggerhead Sea Turtle Critical Habitat       USACE Doc. No. 217   004719-004719   6
Map Units LOGG‐T‐FL‐[21,22,23,24]
20140000 Loggerhead Sea Turtle Critical Habitat       USACE Doc. No. 218   004720-004720   6
Map Units LOGG‐T‐FL‐[25,26,27,28]
20140000 Loggerhead Sea Turtle Critical Habitat       USACE Doc. No. 219   004721-004721   6
Map Units LOGG‐T‐FL‐[29,30]
20140000 Loggerhead Sea Turtle Critical Habitat       USACE Doc. No. 220   004722-004722   6
Map Units LOGG‐T‐FL‐[31,32,33]
20140000 Loggerhead Sea Turtle Critical Habitat       USACE Doc. No. 221   004723-004723   6
Map Units LOGG‐T‐FL‐[34,35]
20140000 Loggerhead Sea Turtle Critical Habitat       USACE Doc. No. 222   004724-004724   6
Map Units LOGG‐T‐FL‐[36,37]
20140000 Loggerhead Sea Turtle Critical Habitat       USACE Doc. No. 223   004725-004725   6
Map Units LOGG‐T‐FL‐[38]
20140000 Loggerhead Sea Turtle Critical Habitat       USACE Doc. No. 224   004726-004726   6
Map Units LOGG‐T‐FL‐[39,40,41]
20140000 Loggerhead Sea Turtle Critical Habitat       USACE Doc. No. 225   004727-004727   6
Map Units LOGG‐T‐FL‐[42,43,44,45]




                                                        x
  Case 2:19-cv-14199-DMM Document 63 Entered on FLSD Docket 06/08/2020 Page 11 of 35



20140000 Loggerhead Sea Turtle Critical Habitat        USACE Doc. No. 226   004728-004728   6
Map Units LOGG‐T‐GA‐[01,02,03,04]
20140000 Loggerhead Sea Turtle Critical Habitat        USACE Doc. No. 227   004729-004729   6
Map Units LOGG‐T‐GA‐[05,06]
20140000 Loggerhead Sea Turtle Critical Habitat        USACE Doc. No. 228   004730-004730   6
Map Units LOGG‐T‐GA‐[07,08]
20140000 Loggerhead Sea Turtle Critical Habitat        USACE Doc. No. 229   004731-004731   6
Map Units LOGG‐T‐MS‐[01,02]
20140000 Loggerhead Sea Turtle Critical Habitat        USACE Doc. No. 230   004732-004732   6
Map Units LOGG‐T‐NC‐[05,06,07,08]
20140000 Loggerhead Sea Turtle Critical Habitat        USACE Doc. No. 231   004733-004733   6
Map Units LOGG‐T‐SC‐[01,02,03,04,05]
20140000 Loggerhead Sea Turtle Critical Habitat        USACE Doc. No. 232   004734-004734   6
Map Units LOGG‐T‐SC‐[06,07,08]
20140000 Loggerhead Sea Turtle Critical Habitat        USACE Doc. No. 233   004735-004735   6
Map Units LOGG‐T‐SC‐[09,10,11]
20140000 Loggerhead Sea Turtle Critical Habitat        USACE Doc. No. 234   004736-004736   6
Map Units LOGG‐T‐SC‐[12,13,14,15,16]
20140000 Loggerhead Sea Turtle Critical Habitat        USACE Doc. No. 235   004737-004737   6
Map Units LOGG‐T‐SC‐[17,18,19]
20140000 Loggerhead Sea Turtle Critical Habitat        USACE Doc. No. 236   004738-004738   6
Map Units LOGG‐T‐SC‐[20,21,22]
20140000 Mulholland Contribution                       USACE Doc. No. 237   004739-004748   6
20140330 Cessa, Beaches Erosion Management             USACE Doc. No. 239   004875-004875   6
Practices and Enviromental Implications
20140617 Poulson‐Ellestad,K_Metabolics and             USACE Doc. No. 241   004878-004884   6
proteomics reveal impacts of chemically mediated
competition on marine plankton
20141000 Rolton 2014_effects of red tide on early      USACE Doc. No. 255   005310-005318   6
development of the eastern oysters_redtide
20150300 Graham Options to Reduce High Volume          USACE Doc. No. 277   005418-005560   6
Freshweater Flows to the St Lucie and Caloosahatchee
Estuaries and Move More Water from Lake
Okeechobee to the Southern
Everglades
20150400 Walsh et al 2015_sublethal red tide toxin     USACE Doc. No. 282   005581-005592   6
exposure in free‐ranging manatees redtide
20150600 Havens, Climate Change and hte Occurence      USACE Doc. No. 299   005664-005669   16
of Harmful Microorganisms in Floridas ocean and
coastal waters
20150600 Rolton 2015_susceptibility of                 USACE Doc. No. 301   005675-005684   6
oyster_gametes_to karenia brevis and its toxins
20150603 Weekly Report 3 June 2015 PDE input           USACE Doc. No. 302   005685-005689   6
20150610 Weekly Report 10 June 2015 PDE input          USACE Doc. No. 303   005690-005694   6
20150824 Indeck, A severe red tide (Tampa Bay,         USACE Doc. No. 315   005768-005773   6
2005) causes an anomalous decrease in biological
sound




                                                         xi
  Case 2:19-cv-14199-DMM Document 63 Entered on FLSD Docket 06/08/2020 Page 12 of 35



20151014 Havens, Climate Change at a crossroad for       USACE Doc. No. 329   005884-005885   6, 16
control of harmful algal blooms
20151101 Wells, Harmful algal blooms and climate         USACE Doc. No. 333   005898-005956   6
change‐ learning from the past and present to forecast
the future
20160000_NAS_Progress Towards Restoring the              USACE Doc. No. 347   006091-006308   6, 9
Everglades ‐ The Sixth Biennial Review
20160131_USACE_internal_RE_ Brain‐tangling               USACE Doc. No. 355   006343-006346   15
algae lurks in Florida waters (photo of green algae)
Conversation with Fl Dept of Health Staffer regarding
latest study on BMAA (algal
toxin
20160211_USACE_Internal_Red Tide Update FWC              USACE Doc. No. 360   006361-006363   6
20160700 Havens, Natural Climate Variability Can         USACE Doc. No. 391   007300-007306   6
Influence Cyanobacteria Blooms in Florida Lakes and
Reservoirs
20160700 Rolton 2016_effects of field and lab            USACE Doc. No. 392   007307-007321   6
exposure to karenia brevis on easternoyster_offspring
20170000 Rosen, Cyanobacteria of the 2016 Lake           USACE Doc. No. 412   007764-007807   6
Okeechobee and Okeechobee Waterway Harmful
Algal bloom
20170000_Rosen,B_ Cyanobacteria of the 2016 Lake         USACE Doc. No. 413   007808-007851   6
Okeechobee and Okeechobee Waterway Harmful
Algal Bloom Open
20180000 FWC, 2018Preliminary Red Tide Manatee           USACE Doc. No. 432   008125-008131   14, 15
Mortalities, Jan01‐Dec31 Manatees Carcasses
Collected within
20180000 Metcalf, Public health responses to toxic       USACE Doc. No. 435   008136-008149   6, 12, 14
cyanobacterial blooms
20180000 Rosen, Underdstanding th effect of salinity     USACE Doc. No. 436   008150-008193   6
tolerance on cyanobacteria associated with harmful
algal bloom in Lake O
20180000 Zhang J, Chapter 8B Lake Okeechobee             USACE Doc. No. 437   008194-008296   1, 5, 6, 11, 12
Watershed Reseasrch and Water Quality Monitoring
SFER vol1
20180200 Havens, The Future of Harmful Algal             USACE Doc. No. 441   008569-008572   6, 16
Blooms in Florida Inland and Coastal Waters
20180300 Central Everglades Planning Project Post        USACE Doc. No. 442   008573-008905   6
Authorization Change Report, Fe...
20180600 Gravinese 2018_effects of redtide_on            USACE Doc. No. 445   009172-009175   15
StoneCrabs
20180810 Havens,K_What is causing Florida's algae        USACE Doc. No. 450   009348-009353   6
crisis_ 5 questions answered
20180810 Wright Floridas BlueGreen Algae Bloom           USACE Doc. No. 451   009354-009364   6, 10, 12
10 times too toxic to touch, testing shows
20180927 _ Internal Email Red Tide Link to Lake O        USACE Doc. No. 453   009367-009367   1, 14
discharges
20181011 Munoz, Scientists‐ Lake Okeechobee may          USACE Doc. No. 454   009368-009369   6
enhance red tide



                                                          xii
  Case 2:19-cv-14199-DMM Document 63 Entered on FLSD Docket 06/08/2020 Page 13 of 35



20181026 MFR ‐ LORS AOF Justification and NEPA         USACE Doc. No. 456   009377-009385   9
Coverage Determination
20181127_Williams,A_Algae toxins are airbone and       USACE Doc. No. 457   009386-009388   1, 6, 11
can reach deep into human lungs, FGCU research
shows_2018
20190320 Davis 2019_dolphin                            USACE Doc. No. 470   009482-009499   6, 12
brain_cyanobacteria_BMAA
20190322 Email from USACE to FWS Reinitiation of       USACE Doc. No. 478   009908-009918   18
Informal ESA on LORS att 7a7d
20190806 Draft EA 2019 Planned Deviation to LORS       USACE Doc. No. 493   010148-010275   1, 5, 6, 9, 10, 11,
                                                                                            13, 18
20160421 Backer 2016 Sentinel Animals in a One         USACE Supp. 1        012787-012804   14
Health Approach to Harmful Cyanobacterial and          Doc. No. 54
Algal Blooms
20170400 FTW 2017 Florida Tax Watch The Cost of        USACE Supp. 1        012902-012918   1, 5, 6, 11
Inaction on the Florida Everglades & Lake              Doc. No. 60
Okeechobee Water Crisis
20180705 Corps letter to Mast 2018_07_05               USACE Supp. 1        012976-012987   1, 5, 6
                                                       Doc. No. 64
20180709 Krimsky 2018 A Response to FAQs about         USACE Supp. 1        012988-012995   1, 6
the 2018 Lake Okeechobee, Caloosahatchee and St.       Doc. No. 65
Lucie Rivers and Estuaries Algal Blooms
20180918 Goforth 2018 A brief discussion of Lake       USACE Supp. 1        013013-013033   6
Okeechobee Pollution ‐ Draft Subject to Revision       Doc. No. 67
20181004_SFWMD_Water flow and nutrient loads           USACE Supp. 1        013034-013050   6
                                                       Doc. No. 68
20181005 Murphy 2018(a) Red tide just spread to        USACE Supp. 1        013051-013054   6
Florida's atlantic coast, choking some the most        Doc. No. 69
popular beaches CNN
20181008 Jones 2018 Could toxic red tide move          USACE Supp. 1        013055-013056   6
farther north to St Johns County ‐ The St. Augustine   Doc. No. 70
Record
20181015 Williams 2018(a) Researchers in town          USACE Supp. 1        013057-013059   6, 12
testing residents for exposure to algae toxins, Fort   Doc. No. 71
Myers News‐press
20181017 FWC 2018_10_18 Email from FWC RE              USACE Supp. 1        013060-013062   6
Sea Turtle Strandings and Red Tide                     Doc. No. 72
20181018 Murphy 2018 Red tide is spreading in          USACE Supp. 1        013063-013065   15
Florida CNN                                            Doc. No. 73
20181029 Hagan 2018 Red tide has contributed to the    USACE Supp. 1        013066-013067   15
deaths of nearly 190 Florida manatees, FWC says        Doc. No. 74
ABCActionNews
20181029 SCCF 2018_10_30 memo to Corps PSC             USACE Supp. 1        013068-013070   6
Caloosahatchee & Estuary Condition Report              Doc. No. 75
20181101 Ballogg 2018 Red Tide Remains Strong off      USACE Supp. 1        013071-013073   6
Anna Maria Island ‐ Bradenton Herald                   Doc. No. 76
20181101 Keieki 2018 Red tide update for Northwest     USACE Supp. 1        013074-013076   6
Florida WPMI NBC15                                     Doc. No. 77




                                                        xiii
  Case 2:19-cv-14199-DMM Document 63 Entered on FLSD Docket 06/08/2020 Page 14 of 35



20181108 Treadway 2018 EAA reservoir Water             USACE Supp. 1     013077-013079   6
District board OKs leasing project's lands to sugar    Doc. No. 78
grower, Treasure Coast Newspapers
20181109 FWC 2018_11_09 Email from FWC RE              USACE Supp. 1     013080-013083   6
Sea Turtle Strandings and Red Tide                     Doc. No. 79
20181203 SCCF 2018_12_04 memo to Corps PSC             USACE Supp. 1     013090-013092   15
Caloosahatchee & Estuary Condition Report              Doc. No. 81
20181207 NOAA 2018 Bottlenose dolphin unusual          USACE Supp. 1     013093-013098   6, 15
mortality event southwest Florida                      Doc. No. 82
20181212 FWC 2018a Preliminary Red Tide Manatee        USACE Supp. 1     013099-013103   15
Mortalities                                            Doc. No. 83
20181213 FWC 2018_12_10 Email from FWC RE              USACE Supp. 1     013104-013107
Sea Turtle Strandings and Red Tide                     Doc. No. 84
20190320_Weisberg_Red Tide event 2018 Univ of          USACE Supp. 1     013229-013240   6
South Florida paper                                    Doc. No. 97
20190000_ORCA_Exposure to Toxic algal blooms           USACE Supp. 2     014166-014171
                                                       Doc No. 10
20190720_Chernoff - Lack of evidence for a role of     USACE Supp. 2     014328-014329   6
BMAA                                                   Doc No. 14
0160627_Preece_a review of microcystin detection in    USACE Supp. 2     013968-013982   6
Esturine and Marine waters                             Doc No. 6
20170000_Chernoff_critical review of postulated role   USACE Supp. 2     013983-014046   6
of BMAA in neurodegenerative diseases in humans        Doc No. 7
20190000 2019 South Florida Environmental Report       USACE Supp. 2     014122-014165   1, 6, 9
Chapter 8-C - St. Lucie and Caloosahatchee River       Doc No. 9
Watersheds Annual Report
20190129_Corps Invites Input on LOSOM                  USACE Supp. 3     025285-025287   5
                                                       Doc No. 1009
20190208 Gov-Desantis, Letter to USACE-Kelly Re        USACE Supp. 3     025379-025379   1, 10
Lake O                                                 Doc No. 1018
20190212 Gov-DeSantis, Letter to USACE-Spellmon        USACE Supp. 3     025414-025414   1, 10
Re Lake O                                              Doc No. 1023
20190705_CDC_General_Information_HAB_Associa           USACE Supp. 3     026550-26555    1, 11
ted_Illness                                            Doc No. 1124
20191100 Lake Okeechobee System Operating              USACE Supp. 3     028869-028870   7
Manual (LOSOM) Fact Sheet                              Doc No. 2227
20171115_MFR_LORS_Operational_Flexibility_NE           USACE Supp. 3     023366-023377   9
PA_Coverage_Determination_                             Doc No. 809
20171212_CDC_HAB_Associated_Illness                    USACE Supp. 3     023501-023502   16
                                                       Doc No. 821
20200312 News Release USACE continues work on          USACE Supp. 4     030236-030238   6
LORS deviation, Jacksonville District                  Doc No. 2308
Lake Okeechobee Regulation Schedule biological         FWS Doc. No 171   0116340-        8, 15
opinion                                                                  0116502




                                                        xiv
Case 2:19-cv-14199-DMM Document 63 Entered on FLSD Docket 06/08/2020 Page 15 of 35



                       MOTION FOR PARTIAL SUMMARY JUDGMENT

        Plaintiffs Center for Biological Diversity, Calusa Waterkeeper, and Waterkeeper Alliance
   (collectively, Conservation Organizations) submit this motion for partial summary judgment on
   Count 1 of their complaint, ECF No. 1, regarding the U.S. Army Corps of Engineers’ failure to
   supplement its 2007 National Environmental Policy Act (NEPA) analysis on the Lake
   Okeechobee Regulation Schedule (LORS). As explained in the memorandum in support of this
   motion, Defendants U.S. Army Corps of Engineers and Colonel Andrew Kelly, in his official
   capacity, (collectively, Corps) are violating NEPA and the Administrative Procedure Act (APA)
   in failing to supplement the Corps’ environmental analysis of LORS with significant new
   information regarding LORS’ influence on harmful algal blooms (HABs)2 and, in turn, HABs’
   significant impacts to the human environment. Conservation Organizations request the Court
   declare that the Corps is violating NEPA in failing to supplement its 2007 environmental
   analysis of LORS and that the Court order the Corps to immediately supplement its
   environmental analysis by a date certain.

       MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFFS’ MOTION FOR PARTIAL
                           SUMMARY JUDGMENT

                                          INTRODUCTION

        Under LORS, the Corps discharges large volumes of polluted freshwater from Lake
   Okeechobee (Lake) to the Caloosahatchee and St. Lucie rivers and estuaries. AR_012978-79;
   AR_008196; AR_012881; AR_012988; AR_010160; AR_014122-23; AR_004471-77;
   AR_003825-38; AR_003308-09. These discharges contain toxic algae that kill fish and wildlife,
   harm people and their pets, and inflict economic damage to local communities.3 In recent years,
   these discharges have coincided with red tide along Florida’s west coast. AR_013063–65.
        The Corps’ past environmental analyses of LORS under NEPA discounted the effects of
   HABs, did not consider the long-term impacts of high-volume discharges beyond three years,


   2
     The Centers for Disease Control describes HABs as “the rapid growth, or bloom, of algae”
   including red tide and cyanobacteria “that can cause harm to animals, people, or the local
   environment.” AR_026550-51.
   3
     See AR_011605; AR_003825-38; AR_010160; AR_025414; AR_025379; AR_009386-88;
   AR_002715-20; AR_004629; AR_026551-52; AR_013057-59; AR_004635-36; AR_004628-43;
   AR_0014166-71, AR_009367.

                                                   1
Case 2:19-cv-14199-DMM Document 63 Entered on FLSD Docket 06/08/2020 Page 16 of 35



   and entirely failed to consider how climate change may affect LORS and HABs. AR_001141-42;
   AR_001338-41. Despite significant new circumstances and information that relate to the
   environment, which include the long-term implementation of LORS and HABs, the Corps has
   failed to supplement its 13-year-old environmental impact statement to analyze these impacts
   and consider less environmentally harmful alternatives. Due to the urgency and gravity of HABs
   in Florida, and the extent of the Corps’ delay, Conservation Organizations seek an order from
   this Court mandating that the Corps immediately supplement its NEPA analysis of LORS.

                                       LEGAL FRAMEWORK

         I.   The National Environmental Policy Act Requires the Corps to Immediately
              Supplement Its LORS NEPA Analysis

      The National Environmental Policy Act is “our basic national charter for protection of the
   environment.” 40 C.F.R. § 1500.1(a). Congress enacted NEPA with the ambitious objectives of
   “encourage[ing] productive and enjoyable harmony between man and his environment …
   promot[ing] efforts which will prevent or eliminate damage to the environment and biosphere
   and stimulating the health and welfare of man; and enrich[ing] the understanding of the
   ecological systems and natural resources important to the Nation . . . .” 42 U.S.C. § 4321.
   “NEPA has twin aims. First, it places upon an agency the obligation to consider every significant
   aspect of the environmental impact of a proposed action, and to consider reasonable alternatives
   that could mitigate those impacts. Second, it ensures that the agency will inform the public that it
   has indeed considered environmental concerns in its decisionmaking process.” Balt. Gas & Elec.
   Co. v. Natural Res. Def. Council, 462 U.S. 87, 97 (1983) (citation omitted).
      NEPA mandates several “action forcing” procedures – most importantly, the requirement to
   prepare an environmental impact statement (EIS) on major Federal actions “significantly
   affecting the quality of the human environment.” Robertson v. Methow Valley Citizen Council,
   490 U.S. 332, 348 (1989); 42 U.S.C. § 4332(2)(C). The term “human environment” is to be
   interpreted comprehensively to include the natural and physical environment and “the
   relationship of people with that environment.” 40 C.F.R. § 1508.14. The Council on
   Environmental Quality regulations, which are binding on all federal agencies, explain, “When an
   environmental impact statement is prepared and economic or social and natural or physical
   environmental effects are interrelated, then the environmental impact statement will discuss all
   of these effects on the human environment.” Id. An EIS must detail “the environmental impact of


                                                    2
Case 2:19-cv-14199-DMM Document 63 Entered on FLSD Docket 06/08/2020 Page 17 of 35



   the proposed action,” “any adverse environmental effects which cannot be avoided,” and any
   reasonable alternatives. 42 U.S.C. § 4332(2)(C). It must analyze not only the direct impacts of a
   proposed action, but also its indirect and cumulative impacts. 40 C.F.R. §§ 1502.16, 1508.7,
   1508.8. “Indirect effects” are “caused by the action and are later in time or farther removed in
   distance, but are still reasonably foreseeable.” 40 C.F.R. § 1508.8(b). A cumulative effect is the
   impact on the environment “which results from the incremental impact of the action when added
   to other past, present, and reasonably foreseeable future actions.” 40 C.F.R. § 1508.7.
      “[A]ssessment of a given environmental impact must occur as soon as that impact is
   ‘reasonably foreseeable.’” N.M. ex rel. Richardson v. BLM, 565 F.3d 683, 716 (10th Cir. 2009)
   (citing 40 C.F.R. § 1502.22); see also Kern v. BLM, 284 F.3d 1062, 1072 (9th Cir. 2002)
   (“NEPA is not designed to postpone analysis of an environmental consequence to the last
   possible moment. Rather, it is designed to require such analysis as soon as it can reasonably be
   done.”). This ensures “environmental information is available to public officials and citizens
   before decisions are made and before actions are taken.” 40 C.F.R. § 1500.1(b) (emphasis
   added). Because the information presented “must be of high quality, …[a]ccurate scientific
   analysis…and public scrutiny are essential to implementing NEPA.” Id.
      The preparation of an EIS does not terminate an agency’s duties under NEPA. NEPA
   requires that an agency “shall” supplement an EIS when the “agency makes substantial changes
   in the proposed action” or “significant new circumstances or information” arise that are relevant
   to the environmental impacts of the action. 40 C.F.R. § 1502.9(c)(1)(i)-(ii). Underlying all of
   NEPA’s procedural requirements is the mandate that agencies take a ‘hard look’ at all of the
   environmental impacts and risks of a proposed action. Agencies may use internal, non-NEPA
   procedures and documents, such as a supplemental information reports, to determine if new
   information requires preparation of a supplemental EIS, but such documents may not be used to
   correct deficiencies in the EIS or “serve as a substitute” for it. Idaho Sporting Cong., Inc. v.
   Alexander, 222 F.3d 562, 566 (9th Cir. 2000); see also Piedmont Envtl. Council v. United States
   DOT, 159 F. Supp. 2d 260, 279-80 (W.D. Va. 2001).




                                                     3
Case 2:19-cv-14199-DMM Document 63 Entered on FLSD Docket 06/08/2020 Page 18 of 35



        II.    The Administrative Procedure Act Requires Courts to Hold Unlawful or Set
               Aside Decisions that are Arbitrary or Capricious and to Compel Agency Action
               Unreasonably Delayed

       The APA provides for judicial review of “final agency action for which there is no other
   adequate remedy.” 5 U.S.C. § 704. Congress intended the definition of agency action under the
   APA to be expansive, and includes “the whole or a part of an agency rule, order, license, sanction,
   relief, or the equivalent or denial thereof, or failure to act.” Id. § 551(13); see also S. Doc. No. 248,
   79th Cong., 2d Sess. 255 (1946) (“The term ‘agency action’ brings together previously defined
   terms in order to simplify the language of the judicial-review provisions . . .and to assure the
   complete coverage of every form of agency power, proceeding, action, or inaction”). The APA
   requires that courts “hold unlawful and set aside agency action, findings, and conclusions” that are
   “arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with law,” or “without
   observance of procedure required by law.” 5 U.S.C. § 706(2)(A), (D). In reviewing a challenge to
   an agency’s failure to act, the APA directs that the court “shall compel agency action unlawfully
   withheld or unreasonably delayed.” Id. § 706(1).

                                      FACTUAL BACKGROUND

       The Corps manages Lake Okeechobee’s levels based on a schedule. The Corps has changed
   this schedule several times over the last 50 years. AR_001038-39. In 2000, the Corps approved a
   new schedule but deviated from it to address wetter than usual conditions. AR_001039. The
   Corps produced an environmental assessment for those deviations and continued to evaluate a
   new regulation schedule, ultimately supplementing that environmental analysis (2007 SEIS) and
   producing LORS – the current schedule. AR_001039-40. Anticipating that LORS would be an
   interim schedule lasting only three years, the Corps planned to begin its Lake Okeechobee
   “System Operating Manual Study” in 2008 to replace LORS and bring it online in 2010, which is
   when the Corps thought the Comprehensive Everglades Restoration Plan (CERP) Band 1
   projects and repairs to the Herbert Hoover Dike (HHD) would be completed. AR_001016.
       When the Corps analyzed the effects of LORS in its 2007 SEIS, it generically acknowledged
   that population growth and “other anthropogenic factors have led to significant nutrient
   enrichment of Florida coastal waters over the past several decades,” that “most scientists agree
   that runoff could help maintain a bloom once it migrates near enough to shore,” and that
   nutrients from a combination of sources like river flow and groundwater “are sufficient to


                                                      4
Case 2:19-cv-14199-DMM Document 63 Entered on FLSD Docket 06/08/2020 Page 19 of 35



   generate and maintain in-shore blooms.” AR_001142. The Corps also noted that sometimes
   HABs “appear associated with discharges from Lake Okeechobee” and other times they do not,
   AR_001142, but ultimately concluded “[i]t is unlikely that discharges from Lake Okeechobee
   are a prerequisite for HAB formation.” AR_001142. The Corps did not analyze or even list past
   HAB events, and offered no further analysis on HABs’ impacts to the human environment.
      Since 2008, the Corps has managed the Lake’s levels pursuant to LORS. AR_008030; ECF
   No. 21 ¶ 111; ECF No. 21 ¶ 115. Under LORS, the Lake and estuaries have experienced several
   widespread harmful algae blooms. AR_012978-79; AR_008196; AR_012881; AR_012988. As
   detailed in Conservation Organizations’ earlier briefing and statements of facts, HABs – which
   include blue-green algae and red tide – significantly impact the human environment. ECF Nos.
   41 at 13-14, 17, 19-21, 25-38; 42 ¶¶ 19-37, 40-50, 62-73, 86-91, 108-113; 56 at 8-10; 57 at 2-7.
   In 2016, a bloom of more than 200-square miles resulted in beach closures throughout Florida
   and the Governor declared a state of emergency. AR_008196; AR_012881; AR_012894. In
   2018, Florida again experienced a massive blue-green algae bloom. AR_012988–90;
   AR_010159. The Corps initiated multiple discharges of toxic algae-filled water into the estuaries
   and Florida’s Governor once again declared a state of emergency. AR_013063–65; AR_010160.
   During the 2018 blue-green algae bloom, Florida also suffered a widespread red tide bloom that
   lingered for nearly a year and displaced and killed thousands of tons of marine wildlife,
   including species listed under the Endangered Species Act. AR_013063–65; AR_013090–92.
      In December 2018, Conservation Organizations notified the Corps, U.S. Fish and Wildlife
   Service, and National Marine Fisheries Service their intention to file a lawsuit for violations of
   the Endangered Species Act (ESA). In January 2019, the Corps announced plans to begin a four-
   year-long NEPA process on the Lake Okeechobee System Operating Manual (LOSOM).
   AR_025285. In June 2019, Conservation Organizations brought the present action alleging that
   the Corps violated the Endangered Species Act, and NEPA by failing to supplement its 2007
   SEIS. ECF No. 1. In August 2019, the Corps released its draft environmental assessment and
   draft finding of no significant impact (FONSI) on a planned deviation from LORS to remain in
   place until LOSOM’s anticipated implementation date in December 2022. AR_10148-10257. On
   March 12, 2020, the Corps announced that it intended to release a revised NEPA document on
   the planned deviation from LORS “within the coming weeks, with the goal of having the




                                                    5
Case 2:19-cv-14199-DMM Document 63 Entered on FLSD Docket 06/08/2020 Page 20 of 35



   proposed deviation finalized early in wet season.” AR_030236-38. The Corps has not released a
   revised document or finalized its FONSI on the deviation.

                                             ARGUMENT

       For nearly a decade, the Corps has annually discharged billions of gallons of phosphorous,
   nitrogen, and total suspended solids, as well as tons of harmful algae from the Lake, into the
   Caloosahatchee and St. Lucie rivers and estuaries under LORS. AR_012978-79; AR_008196;
   AR_012881; AR_012988; AR_010160; AR_014122-23; AR_004471-77; AR_003825-38;
   AR_003308-09. These HABs, and the conditions that give rise to them, constitute significant
   new circumstances or information relevant to environmental concerns that bear on LORS and its
   impacts on the human environment, public health, and listed species. Additionally, since the
   Corps last reviewed LORS under NEPA in 2007, there has been an explosion of additional
   research and information on HABs. For example, in 2010, the Department of Interior and U.S.
   Fish and Wildlife Service discussed the harmful effects of LORS and HABs on the J.N. Ding
   Darling National Wildlife Refuge Complex in its 15-year Comprehensive Conservation Plan for
   the Refuges. AR_003448-50. In 2016, the National Academy of Sciences highlighted the
   nutrient pollution from Lake Okeechobee that seeds harmful algae blooms in the coastal
   estuaries. AR_006137-38. That report also identified the potential for climate change to make the
   HAB situation even worse. Id. Also in 2016, Corps staff relayed information from the Florida
   Fish and Wildlife Conservation Commission Harmful Algal Blooms Lab to Lt. Col. Reynolds
   that “once red tide is in a nearshore area where basin and Lake flow are bringing in nutrients it
   can persist longer under the right conditions.” AR_006361. There have also been numerous other
   studies, reports, and additional information about HABs since 2007.4



   4
    See AR_002443-60; AR_002574-76; AR_002577-002639; AR_002659-2731; AR_002834-
   2904; AR_002914-18; AR_003004-003046; AR_003082-92; AR_003126-36; AR_003334-66;
   AR_003813-79; AR_003952-57; AR_003966-80; AR_003999-4072; AR_004086-4106;
   AR_004124-27; AR_004389-98; AR_004471-77; AR_004505-23; AR_004537-38; AR_004539-
   42; AR_004587-94; AR_004615-25; AR_004628-4874; AR_004875; AR_004878-4884;
   AR_005310-18; AR_005418-5560; AR_005581-92; AR_005675-94; AR_005768-73;
   AR_005884-85; AR_005898-5956; AR_006091-6308; AR_007300-7321; AR_007764-7851;
   AR_008136-8296; AR_008569-75; AR_009348-64; AR_009368-69; AR_009386-88;
   AR_009482-99; AR_013968-4046; AR_014122-4171; AR_014328-29; AR_011325-128901;
   AR_012988-95; AR_013013-83; AR_013093-107; AR_013229-240.


                                                    6
Case 2:19-cv-14199-DMM Document 63 Entered on FLSD Docket 06/08/2020 Page 21 of 35



      Furthermore, the Corps originally intended LORS to be an interim measure, active for only
   three years or until 2010. AR_001275, AR_001285 (“The revised schedule is intended to be
   active for three years, until around 2010 ”); AR_001038 (the Corps’ goal with LORS is “to
   implement a new interim regulation schedule”); AR_001546 (the baseline simulation assumption
   is that a new LORS “will be initiated with an expected duration of approximately three years, at
   which time a new regulation schedule is anticipated for operations.”); see also AR_001040;
   AR_001364; AR_001406; AR_001425. However, the Corps has continued to manage the Lake
   under LORS and announced its intention to continue managing the Lake under LORS until at
   least December 2022. AR_028869. This constitutes significant new information and the Corps
   must evaluate its effect on the human environment.
      Conservation Organizations have already detailed the history of the Corps’ management of
   the Lake under LORS and LORS’ contribution to HABs. ECF Nos. 41 at 13-14, 17, 19-21, 25-
   38; 56 at 8-10. This memorandum details the Corps’ duty and failure to supplement the 2007
   SEIS and establishes that Conservation Organizations have met their burden to show that the
   recent HABs are significant new circumstances, there is significant new information on HABs
   that is relevant to the environmental impacts of LORS, and the Corps has made substantial
   changes to LORS by relying on it well beyond three years. The Corps has not supplemented the
   2007 SEIS and no other planned or proposed actions satisfy this obligation.

          I. The Corps’ Failure to Immediately Supplement its 2007 SEIS Regarding
             Harmful Algal Blooms Violates NEPA and the APA

      The Corps has unlawfully failed to supplement its NEPA analysis of LORS despite
   significant new circumstances and information regarding its effects on HABs. The Corps has
   ignored these obligations at the expense of human health and the environment. This violation can
   only be remedied by the Corps immediately supplementing its 2007 SEIS to reflect the
   significant new circumstances and information about HABs.
      The Supreme Court in Marsh v. Or. Nat. Res. Council affirmed that “[i]t would be incongruous
   with [NEPA’s] approach to environmental protection, and with the Act’s manifest concern with
   preventing uninformed action, for the blinders to adverse effects, once unequivocally removed, to
   be restored prior to the completion of agency action.” 490 U.S. 360, 371 (1989). Accordingly,
   “when the remaining governmental action would be environmentally significant,” the duty to
   supplement applies. Id. at 372; see also Forty Most Asked Questions Concerning CEQ’s National


                                                   7
Case 2:19-cv-14199-DMM Document 63 Entered on FLSD Docket 06/08/2020 Page 22 of 35



   Environmental Policy Act Regulations, 46 Fed. Reg. 18,026 (March 23, 1981) (Question 32); See
   also Norton v. S. Utah Wilderness All., 542 U.S. 55, 73 (2004) (reaffirming that “supplementation
   is necessary only if there remains ‘major Federal action’ to occur.”) (internal citation omitted).
   LORS is an ongoing federal action. AR_116340.
       Under NEPA, the Corps must prepare a supplemental EIS if it “makes substantial changes in
   the proposed action that are relevant to environmental concerns; or [] there are significant new
   circumstances or information relevant to environmental concerns and bearing on the proposed
   action or its impacts.” 40 C.F.R. § 1502.9(c)(1); 33 C.F.R. § 230.13. Because “[t]he standard for
   determining when an SEIS is required is ‘essentially the same’ as the standard for determining
   when an EIS is required,” this Court may look to the factors used to evaluate intensity, part of the
   consideration for whether an action is environmentally significant enough to warrant NEPA
   analysis. Sierra Club v. U.S. Army Corps of Eng’rs, 295 F.3d 1209, 1215-16 (11th Cir. 2002); 40
   C.F.R. § 1508.27. “Significantly,” as used in NEPA, requires the Corps to consider “both context
   and intensity,” and “intensity . . . refers to the severity of the impact,” which includes the degree
   to which LORS affects public health and safety, ecologically critical areas, highly controversial
   and uncertain effects, and listed species or their habitat. 40 C.F.R. §§ 1508.27(b)(2), (3), (4), (9);
   Ctr. for Biological Diversity v. Bureau of Land Mgmt., 937 F. Supp. 2d 1140, 1155 (N.D. Cal.
   2013) ( “[t]he presence of any one of these factors may be sufficient to require an EIS.”). The
   Corps “must ‘clearly show’ that it took a hard look and the existing EIS already accounts for any
   purported changes, new circumstances or new information in the new proposed action.” Lemon v.
   McHugh, 668 F. Supp. 2d 133, 142 (D.D.C. 2009). To date, the Corps has failed to do this.

              A. The Corps Did Not Examine Whether LORS Would Influence HABs in Its
                 2007 SEIS and Information Available to the Corps Since that Time Indicates
                 That Significant Adverse Impacts Are Occurring

       It is clear from the record the Corps did not anticipate how LORS would influence HABs,
   and how those HABs would affect the health and safety of the human environment, in its 2007
   SEIS. And it is easy to understand how that happened. The Corps had never managed the Lake
   under the levels called for by LORS,5 the historic rain record that the Corps based its LORS

   5
     The Lake was managed at 15.5-17.5 feet 1978-1992. AR_001376. From 1994-2000 the Corps
   managed the Lake at 15.65-16.75 feet. AR_001039. From 2000-2008 the Corps allowed the
   Lake to go lower, but still allowed for relatively high levels. AR_001038-39. The Corps manages
   the Lake 12.5-15.5 feet under LORS. AR_001550.


                                                     8
Case 2:19-cv-14199-DMM Document 63 Entered on FLSD Docket 06/08/2020 Page 23 of 35



   modeling on did not envisage the very wet 2016 and 2018 seasons,6 and the Lake and estuaries
   had never seen HABs like the ones that would come to pass. Instead, the Corps erroneously
   concluded Lake discharges were “unlikely” to be a precursor to HAB formation and therefore
   undertook no analysis of whether or how LORS might influence HABs. AR_001141-42; see also
   AR_009377 (the Corps did not evaluate the “frequent climate oscillations, extreme high water,
   major tropical events, harmful algal blooms, and estuarine salinity issues” from 2018-2019).
       It has since become clear that LORS “can transmit blue green algae from Lake Okeechobee
   to the estuaries,” lowering “salinities in the estuary and provide nutrients that promote blue green
   algae blooms,” AR_010159, and that HABs have a significant impact on the quality of the
   human environment. AR_010160; AR_023371; AR_025384 (the Corps stating “[W]hat we’ve
   learned is that there are some things that weren’t fully considered when we considered the
   schedule in 2008”). The Corps is required to supplement its NEPA analysis when something
   “will ‘affect the quality of the human environment’ in a significant manner or to a significant
   extent not already considered.” Marsh, 490 U.S. at 374. The Corps must consider beneficial and
   adverse impacts, including effects on public health and safety, ecologically critical areas,
   controversial and uncertain effects, and impacts on listed species and their habitat. Id.
       The Corps has released Lake water under LORS since 2008 that is at times polluted with
   toxic algae and nutrients, causing significant adverse impacts to the Caloosahatchee and St.
   Lucie. In 2018, over 80% of the Lake was covered in HABs, AR_010160, and during the 2018
   water year,7 the Corps discharged nearly twice as much Lake water into the estuaries than normal
   – 195 billion gallons to the St. Lucie and 391 billion gallons to the Caloosahatchee. AR_014122-
   23. This was not only a larger volume of water than usual, but also a larger percentage of water
   entering the estuaries as compared to other sources, like basin runoff. Id. During the same time
   frame, the Corps discharged twice as much nitrogen and nearly three times as much phosphorous
   as its 20-year average from the Lake to the estuaries. Id. A National Academies of Sciences,
   Engineering and Medicine report found that “the massive harmful cyanobacterial blooms” on
   Lake Okeechobee and in the St. Lucie and Caloosahatchee estuaries are “caused by unnaturally
   high levels of phosphorous and nitrogen in the lake.” AR_006198.


   6
    The period of simulation for the LORS model was 1965-2000. AR_001543.
   7
    The “water year” is from May to April. The administrative record does not include similar
   discharge information for the 2019 water year, May 2018-April 2019.


                                                     9
Case 2:19-cv-14199-DMM Document 63 Entered on FLSD Docket 06/08/2020 Page 24 of 35



      These HABs include cyanobacteria or blue-green algae that pose risks to humans, create
   dangerous conditions in South Florida’s national wildlife refuges and state aquatic preserves, and
   harm federally protected species. Because the Corps has a continuing duty to review the
   environmental impacts of LORS, its failure to take a hard look at the significant direct, indirect,
   and cumulative environmental effects that LORS has on people, animals, and ecosystems
   downstream of Lake discharges is a violation of NEPA. Marsh, 490 U.S. at 374. Indeed, the
   record reflects that a number of the significance criteria in the NEPA implementing regulations
   are clearly satisfied. See 40 C.F.R. § 1508.27(b).

                  1. LORS Significantly Impacts Public Health and Safety

      Although the 2007 SEIS did not find that LORS would have a significant impact on public
   health or safety as it relates to HABs, new information and circumstances in record evidence
   show that LORS is having a significant impact on public health and safety. In 2007, the Corps
   stated that LORS “represents the best operational compromise at this time to improve the
   environmental health of certain major ecosystems, while providing for public health and safety
   as it pertains to” Lake regulation and the HHD. AR_001011. But it has since become clear that
   LORS poses a significant risk to public health and safety in the form of harmful algal blooms.
   AR_010160 (Corps admitting “HABs that have occurred on Lake Okeechobee and in the
   downstream estuaries have not only impacted the surrounding communities that are dependent
   on tourism, but have also posed risk to the health and human safety.”); AR_025414 (Gov.
   DeSantis explaining to the Corps “discharges from Lake O into the Caloosahatchee and St. Lucie
   estuaries have taken a major toll on the economy, environment and quality of life of many
   Florida communities.”); AR_025379 (Gov. DeSantis explaining to the Corps “discharges from
   Lake Okeechobee have contributed to significant environmental problems that have plagued
   communities on both coasts of Florida for years.”).
      The Corps must prepare or supplement an environmental impact statement “if substantial
   questions are raised as to whether a project may cause significant degradation of some human
   environmental factor.” Klamath Siskiyou Wildlands Ctr. v. Boody, 468 F.3d 549, 562 (9th Cir.
   2006). At minimum, there are such “substantial questions” here. The Corps’ continued LORS
   discharges influence or enhance HABs downstream, AR_009349, and are a “remaining action
   [that] will ‘affect the quality of the human environment’ in a significant manner or to a



                                                    10
Case 2:19-cv-14199-DMM Document 63 Entered on FLSD Docket 06/08/2020 Page 25 of 35



   significant extent not already considered” requiring the Corps to supplement its NEPA analysis.
   Marsh, 490 U.S. at 374.
         Blue-green algae, particularly microcystis, have been found in the Lake and the
   Caloosahatchee and St. Lucie estuaries. AR_004471-77; AR_003825-38; AR_003308-09. HABs
   have become particularly hazardous in recent years and dozens of hospitalizations in the summer
   of 2018 contributed to the governor of Florida declaring two states of emergency, one for the
   blue-green algae bloom and another for the red tide that simultaneously devasted wildlife on the
   west coast of Florida. AR_008196; AR_012881.
         According to one leading expert, “[c]yanotoxins are among the most potent toxins known, far
   more potent than industrial chemicals.” AR_011605. These blue-green algae are hepatoxins and
   have been linked to poisoning and cancer,8 and contain a toxin that may cause to
   neurodegenerative diseases like ALS and Parkinson’s. AR_003825-38. People who live near
   cyanobacteria blooms are likely to inhale these toxins deep into their lungs and those who risk
   being exposed to the waterborne toxins may have an increased risk of neurodegenerative disease.
   AR_009386-88; AR_002715-20. Exposure from recreational water sources can occur through
   incidental ingestion while recreating; contact with the skin during activities like swimming,
   wading, kayaking, fishing, and surfing; and inhalation as waterborne cyanotoxins are
   aerosolized. AR_004629; AR_026551-52. Researchers at Florida Gulf Coast University found
   that toxins can be inhaled and reach deep into the lungs, AR_009386-87, and recently
   documented airborne particles of cyanobacteria more than a mile inland from any retention
   ponds and three miles from the Caloosahatchee River. Id.
         Non-recreational exposure can occur through the consumption of cyanotoxin-contaminated
   drinking water and food (including fish). Id. Several studies have demonstrated bioaccumulation
   of cyanotoxins and transfer through the food chain, and reach humans through the consumption
   of fish. AR_004635-36. A study in Martin County found subsistence fishers fishing in waters
   with microcystin caught fish with microcystin, and then shared that fish with children, pregnant
   women, and the elderly several times a week. AR_0014166-71. Exposure to these toxins can
   result in gastrointestinal, dermatologic, respiratory, and neurologic disorders, as well as cancer.
   AR_004628-43.



   8
       A hepatoxin is a toxic chemical that damages the liver.


                                                     11
Case 2:19-cv-14199-DMM Document 63 Entered on FLSD Docket 06/08/2020 Page 26 of 35



      A study sampling cyanobacteria in the St. Lucie during the 2016 HAB event detected
   concentrations of microcystins that greatly exceeded World Health Organization Guideline
   Values for drinking and recreational water, and also detected neurotoxins and BMAA.
   AR_008136. In 2017, samples from the Lake had the highest recorded concentration of
   microcystin collected in the past five years. AR_008196. In August 2018, the Florida
   Department of Environmental Protection collected water samples with toxic algae at the rate of
   110 parts per billion (ppb), 10 times the level the World Health Organization has determined to
   be hazardous for humans in recreational waters. AR_009355. Testing detected even higher levels
   in July 2018, at 154.38 ppb, and in 2016, at 33,000 ppb. Id. Dozens of people have been
   hospitalized after being exposed to the toxic algae, which doctors describe as a “health hazard.”
   Id. Additional research is underway at Florida Atlantic University after taking blood, urine, nose,
   and throat swab samples from people exposed to the 2018 bloom. AR_013057-58.
      Studies have shown that bottlenose dolphins that have died in the Indian River Lagoon have
   similar concentrations of BMAA in their brains as humans that have died of neurodegenerative
   diseases. AR_003008-09. Bottlenose dolphins with detectable levels of BMAA in their brains
   also displayed degenerative damage similar to Alzheimer’s, Lou Gehrig’s disease, and
   Parkinson’s disease in humans. AR_009482-95. The dolphins studied included seven that
   beached themselves in 2005 along the Atlantic, the Indian River Lagoon, the Banana River and
   Gulf of Mexico. AR_009483. Impacted fish, shrimp, and crabs in Florida have also been found
   to have dangerous concentrations of BMAA. AR_003008-09.
      Florida’s tourism-based economy has been greatly impacted by HABs and water quality
   issues tied to the management of Lake discharges. Tourists and residents, like and including
   members of Conservation Organizations, Allen Decl.¶¶ 8-15, Nelson Decl. ¶¶ 15-19, Decl.
   Pimm Decl. ¶¶ 7-23, Diaz Decl. ¶¶ 15-22, Cassani Decl. ¶¶ 12-27, engage in water-based
   recreational activities such as swimming, fishing, boating, kayaking, paddle boarding, bird
   watching, and nature observation in and around the Caloosahatchee and St. Lucie rivers and
   estuaries. The HABs that result from the Corps’ discharges of Lake water under LORS have a
   “significant” impact on recreation, public health, and safety that the Corps has never analyzed
   under NEPA. AR_001141-42. HABs do not just constitute “significant new circumstances or
   information relevant to” the continued management of the Lake under LORS but also
   demonstrate an ongoing failure by the Corps to prepare a supplemental EIS considering the



                                                   12
Case 2:19-cv-14199-DMM Document 63 Entered on FLSD Docket 06/08/2020 Page 27 of 35



   ongoing dangers HABs have to human health year after year. These impacts to the human
   environment need to be analyzed under NEPA, see 40 C.F.R. § 1508.27(b)(2), and the Corps’
   failure to prepare a supplemental EIS is arbitrary and capricious. 40 C.F.R. § 1502.9(c)(1)(ii).

                  2. LORS Significantly Impacts Ecologically Critical Areas

      Although the 2007 SEIS did not find that LORS would have significant impacts on the
   unique characteristics of the geographic area, such as ecologically critical areas, 40 C.F.R.
   § 1508.27(b)(3), new information and circumstances in record evidence show that LORS is
   significantly impacting ecologically critical areas, including national wildlife refuges, aquatic
   preserves, and a state park. Five national wildlife refuges are within the Caloosahatchee: J.N.
   “Ding” Darling National Wildlife Refuge, Pine Island National Wildlife Refuge, Matlacha Pass
   National Wildlife Refuge, Island Bay National Wildlife Refuge, and Caloosahatchee National
   Wildlife Refuge. Hobe Sound National Wildlife Refuge and a state aquatic preserve are in the
   Indian River Lagoon and St. Lucie Inlet. AR_012285. South of the St. Lucie Inlet lies the St.
   Lucie Inlet Preserve State Park and reef. AR_004653, AR_012285.
      These ecologically critical areas have been significantly impacted by HABs. The
   Conservation Plan for the Ding Darling National Wildlife Refuge found that “blue-green algae
   blooms, red tides, and massive accumulation of drift algae have indicated that nutrient loads to
   the Caloosahatchee are too high.” AR_003450. The Conservation Plan also found that “[t]he
   result of nutrient loading combined with too much or too little freshwater flowing to the
   Caloosahatchee River is a degraded estuarine ecological community” with documented “declines
   in the abundance and diversity of marine and estuarine species” and a “lack of suitable habitat”
   that causes stress for manatees and wood storks. AR_003450.
      The Corps must prepare a Supplemental EIS to evaluate the impacts HABs are having on
   these ecologically critical areas. 40 C.F.R. § 1508.27(b)(3).

                  3. The Impacts of LORS on the Quality of the Human Environment are
                     Uncertain and Highly Controversial

          The impacts of LORS on the quality of the human environment are also “highly uncertain
   or involve unique and unknown risks,” and are likewise “highly controversial” within the
   meaning of the NEPA regulations. 40 C.F.R. §§ 1508.27(b)(4), (5). A “controversy” sufficient to
   require preparation of an EIS occurs “when substantial questions are raised as to whether a



                                                    13
Case 2:19-cv-14199-DMM Document 63 Entered on FLSD Docket 06/08/2020 Page 28 of 35



   project…may cause significant degradation of some human environmental factor, or there is a
   substantial dispute [about] the size, nature or effect of the major Federal action.” Nat’l Parks
   Conservation Ass’n v. Babbitt, 241 F.3d 722, 736 (9th Cir. 2001). Once a substantial controversy
   arises, NEPA places a burden on the agency to come forward with a “well-reasoned explanation”
   demonstrating why those responses do not suffice to create a public controversy. Id. at 736.
       There is such a controversy in this case. Numerous conservation organizations, waterfront
   homeowners, recreational users, elected officials, and concerned citizens have repeatedly urged
   the Corps to stop discharging polluted water from the Lake into the Caloosahatchee and St. Lucie
   rivers and estuaries.9 Nat’l Parks Conservation Ass’n v. Semonite, 916 F.3d 1075, 1086 (D.C.
   Cir. 2019) (holding where the Corps’ assessment “has drawn consistent and strenuous
   opposition” from other agencies and organizations “the effects on the quality of the human
   environment are likely to be highly controversial.”).
       The record also contains numerous published scientific studies and articles documenting the
   extremely high concentrations of cyanotoxins in the Lake, rivers, and estuaries, AR_008136-9,
   and the risks that cyanotoxins (and BMAA found within blue-green algae) pose to human health,
   AR_004629-49, AR_004471-77, AR_003825-38, AR_003308-09; pets, AR_012794-95,
   AR_009367; and fish and wildlife. AR_003343. The dispute between Conservation
   Organizations and the Corps does not merely involve a disagreement of qualified experts over
   the “reasoned conclusions” as to what the data reveal. Nat’l Parks v. Babbitt, 241 F.3d at 737.
   Rather, the Corps has provided no reasoned explanation as to why a supplemental EIS is not
   warranted in view of this data and information. These studies cast serious doubt upon the
   reasonableness of the Corps’ failure to prepare a supplemental EIS for LORS. Id. at 736. The
   record evidence demonstrates that the effects of LORS are both uncertain and highly
   controversial under 40 C.F.R. §§ 1508.27(b)(4)-(5) and therefore, the Corps must supplement its
   2007 SEIS.



   9
    See AR_26595-26658; AR_26661-76; AR_26678-83; AR_26685-88; AR_26691-27206;
   AR_27208-27433; AR_27437-28149; AR_28156-28316; AR_25294-25345; AR_25358-77;
   AR_25383-25413; AR_25443-25545; AR_25580-93; AR_25604-25675; AR_25758-25787;
   AR_25236-37, AR_25379, AR_25414 (letters from Gov. DeSantis); AR_26677 (Palm Beach
   County); AR_26689-90 (Okeechobee County); AR_27207 (Hendry County); AR_27434-36 (Lee
   County); AR_28150-55 (Martin County); AR_24218-19 (Glades County); AR_26659-60, (City
   of Sanibel); AR_26684 (City of Okeechobee); AR_28317-36 (City of West Palm Beach).


                                                    14
Case 2:19-cv-14199-DMM Document 63 Entered on FLSD Docket 06/08/2020 Page 29 of 35



                   4. LORS Significantly Impacts Federally Listed Species and Critical
                      Habitat

        Although the 2007 SEIS did not find that LORS would adversely affect endangered and
   threatened species or their habitat as a consequence of LORS-influenced HABs, 40 C.F.R.
   § 1508.27(b)(9), new information and circumstances in record evidence shows that LORS is
   having a significant impact on listed species and critical habitat. The 2007 DEIS did not take into
   account the downstream effects the long-term discharges would have on the critical habitat of
   listed species or the health of their environment. AR_116354-55. The 2007 SEIS did not analyze
   the effects of HABs on specific listed species, and only briefly mentioned that the blooms
   “produce toxic or harmful effects” on people and animals living in or near the water.
   AR_001141.
        Since 2007, BMAA concentrations in animals exposed to cyanobacteria have been observed
   in Florida, including moderate amounts in mollusks and high concentrations in fish in the
   Caloosahatchee River. AR_003334-47. Red tide and blue-green algae blooms have individually,
   collectively, synergistically, and cumulatively killed tens of thousands of tons of marine wildlife,
   including ESA-listed sea turtles, Florida manatees, and smalltooth sawfish.10 The Corps’
   continued management of the Lake under LORS is having an adverse impact on “threatened and
   endangered wildlife species, through habitat loss, loss of connectivity with other habitats,
   displacement . . .” and the Corps must fully analyze it by supplementing its NEPA analysis.
   Wyoming v. USDA, 661 F.3d 1209, 1246 (10th Cir. 2011).
        The failure of the Corps to prepare a supplemental EIS to address the entire scope of the
   project, with its significant impact on the formation of HABs’ adverse effects on listed species, is
   arbitrary and capricious under NEPA, as the purpose of NEPA is to “ensure that ‘the agency will
   not act on incomplete information, only to regret its decision after it is too late to correct.”
   Friends of the Clearwater v. Dombeck, 222 F.3d 552, 557 (9th Cir. 2000); see also Defs. of
   Wildlife v. Bureau of Ocean Energy Mgmt., Regulation, & Enf’t., 791 F. Supp 2d 1158, 1177-78
   (S.D. Ala. 2011) (declining to dismiss plaintiff’s claim where the federal agency continued to


   10
    AR_013063-65; AR_013090-92; AR_003343; AR_003008-09; AR_003450-51; AR_000937;
   AR_003852; AR_006343-46; AR_004471-77; AR_004124-27; AR_002840; AR_002842;
   AR_000027-82; AR_004389-98; AR_000372-77; AR_009172-75; AR_003307; AR_004505-23;
   AR_013093-98; AR_000265-73; AR_000048-57; AR_002705-14; AR_001380-83; AR_008130;
   AR_013099-103; AR_013066-67.


                                                     15
Case 2:19-cv-14199-DMM Document 63 Entered on FLSD Docket 06/08/2020 Page 30 of 35



   perform discretionary actions without updating its NEPA analysis with new information from the
   Deepwater Horizon accident).

                   5. Significant New Information Shows Climate Change Worsens HABs

       The Corps has likewise failed to assess significant new information regarding the synergistic
   effects of LORS and climate change on HABs. New scientific information explains that climate
   change exacerbates the growth of HABs by leading to favorable conditions for blue-green algal
   blooms, including warm waters, changes in salinity, increases in atmospheric carbon dioxide
   concentrations, changes in rainfall patterns, sea level rise, and high nutrient levels. AR_004592-
   94; AR_005664-67; AR_008569-72; AR_002574-76; AR_002878-89; AR_023501-02;
   AR_004629; AR_005884-85. The Corps did not analyze the cumulative environmental impacts
   of climate change on LORS or the HABs it facilitates, instead stating simply, “[a] large portion
   of uncertainty that exists in estimating performance measures is caused by such factors as natural
   climate variability, anthropogenic climate change, and sea level rise.” AR_001545. The Corps
   has arbitrarily and capriciously failed to prepare supplemental NEPA analysis in response to the
   climate change documents available, and in so doing, has “entirely failed to consider an
   important aspect of the problem.” Motor Vehicle Mfr. Ass’n. v. State Farm Mut. Auto. Ins. Co.,
   463 U.S. 29, 43 (1983); Miccosukee Tribe of Indians v. United States, 566 F.3d 1257, 1264 (11th
   Cir. 2009); See also AquAlliance v. United States Bureau of Reclamation, 287 F. Supp. 3d 969,
   1031-32 (E.D. Cal. 2018) (finding the agency failed to adequately consider under NEPA how
   climate change would exacerbate the environmental impacts of water transfers due to less
   snowpack and stream flows) (citing Wild Fish Conservancy v. Irving, 221 F. Supp. 3d 1224,
   1233-34 (E.D. Wash. 2016) (finding a biological opinion arbitrary and capricious where the
   administrative record included discussions of climate change impacts on stream flow but the
   agency failed to discuss the potential effects of climate change on a fish hatchery’s operations
   and water use).
       The failure to incorporate climate change impacts into NEPA analysis implicates a number of
   the significance criteria, including “whether the action is related to other actions with . . .
   cumulatively significant impacts.” 40 C.F.R. § 1508.27(b)(7). In similar situations where
   agencies failed to consider a project’s impacts along with the current and projected impacts of
   climate change, courts have found the agency’s decision arbitrary and capricious for failing to
   consider such a fundamental factor. See Pac. Coast Fed’n of Fishermen’s Ass’n v. Gutierrez, 606


                                                     16
Case 2:19-cv-14199-DMM Document 63 Entered on FLSD Docket 06/08/2020 Page 31 of 35



   F. Supp. 2d 1122, 1183-84 (E.D. Cal. 2008) (invalidating a biological opinion under the ESA for
   a large-scale water project where the agency assumed that current climatic conditions would
   continue for the 25-year duration of the project); S. Yuba River Citizens League v. Nat’l Marine
   Fisheries Serv., 723 F. Supp. 2d 1247, 1274 (E.D. Cal. 2010) (agency failed to consider the
   impacts of climate change in biological opinion for two dam projects). The Corps must consider
   this significant new information in a supplemental EIS and provide a fresh hard look at
   operations under LORS.

              B. The Corps Failed to Consider the Significant New Circumstances and
                 Information Regarding the Environmental Impacts of Operating under
                 LORS Beyond 2010.

      The Corps must also supplement its NEPA analysis regarding its ongoing management of
   Lake Okeechobee and the toxic discharges to the Caloosahatchee and St. Lucie rivers and
   estuaries because of the substantial change the Corps has made to LORS by extending it well-
   beyond its intended interim, three-year lifespan. The Corps conducted its last “hard look” at
   LORS 13 years ago when it anticipated that it would revise the schedule again in 2010.

          The Lake Okeechobee regulation schedule will be revised again around 2010. The
          current revision of the schedule will provide lessons for improved understanding
          of how well the current water management infrastructure can handle extreme
          weather events, and we have already identified several additional analysis tools
          and methods that should be used in the upcoming revision process. Although this
          current revision to the schedule does not adequately meet all the needs and desires
          of the competing lake interests, the next revision to the schedule, with the
          additional water management infrastructure that is assumed to be in place at that
          time, will likely approach more closely the goal of balanced and shared adversity
          as it relates to the multiple objectives of water management in and around Lake
          Okeechobee.

      AR_001414. The 2007 SEIS shows that the Corps’ analysis of LORS as an ongoing
   operating system for the Lake assumed a new EIS would be conducted in 2010. AR_001338-41.
   The repercussions of perpetually operating the so called “interim schedule” must be addressed
   immediately. “NEPA is not designed to postpone analysis of an environmental consequence to
   the last possible moment[,] [r]ather, it is designed to require such analysis as soon as it can
   reasonably be done.” Kern, 284 F.3d at 1072; see also Miccosukee Tribe of Indians v. United
   States, 420 F. Supp. 2d 1324, 1346 (S.D. Fla. 2006) (ordering the Corps to issue a supplemental
   EIS within two months). Instead of supplementing its 2007 SEIS as required by law, the Corps


                                                    17
Case 2:19-cv-14199-DMM Document 63 Entered on FLSD Docket 06/08/2020 Page 32 of 35



   has ignored its obligation and repeatedly stated that it intends to operate under LORS until at
   least 2022, when it hopes either the HHD repairs or certain CERP projects will have been
   completed. Answer, ECF No. 21 ¶¶ 120, 129, 130; AR_009912. These are the same triggers the
   Corps expected to come to pass in 2010 when it approved LORS in 2007.
      And it is not just that far more than three years have gone by. As explained, circumstances
   have dramatically changed. The record shows there are more HABs occurring and that they may
   be attributable to LORS. The Corps itself has found “Economic losses to the Caloosahatchee and
   St. Lucie estuaries associated with HABs in recent years is assumed to be significant” and
   implementing changes in LORS is expected “to reduce economic losses that could result from
   HABs.” AR_010186. Furthermore, the stormwater treatment areas (which facilitate southward,
   as opposed to east and westward, movement of Lake water) were presumed to provide an annual
   average of approximately 60,000-64,000 acre feet of treatment and storage, but in the last four
   years have been expected to provide an annual average of 200,000-300,000 acre feet of treatment
   and storage. AR_010184; AR_001214; AR_001391; AR_001052. Moreover, the precipitation
   data the Corps used for modeling LORS is now 20 years old. AR_001543. Finally, “if the EIS
   concerns an ongoing problem, EIS’s more than five years old should be carefully examined to
   determine” if an EIS supplement is necessary. Forty Most Asked Questions Concerning CEQ’s
   National Environmental Policy Act Regulations, 46 Fed. Reg. at 18,026. The Corps cannot
   continue to flout its statutory obligations by operating under LORS indefinitely without
   analyzing this new information or the effects of changing the project from interim to permanent.
   Miccosukee Tribe of Indians of Florida v. United States, No. 08-21747-CIV-UNGARO, 2008
   WL 11332080, at *2 (S.D. Fla. Nov. 14, 2008) (“[i]f the post-EIS changes in the project will
   have a significant impact on the environment that has not previously been covered by the
   original EIS, an SEIS is necessary.”).

              C. No Other Action the Corps Has Taken Relieves the Corps of Its NEPA
                 Obligations to Supplement LORS

      When an agency action is ongoing, NEPA requires the agency to immediately supplement its
   analysis. Norton, 542 U.S. at 73. Agencies “shall prepare supplements” to their EISs where the
   agency makes substantial changes or there are significant new circumstances or information
   relevant to environmental concerns and bearing on the action or its impacts. 40 C.F.R.
   § 1502.9(c). The use of the word “shall” establishes a mandatory duty. Marsh, 490 U.S. at 372.


                                                   18
Case 2:19-cv-14199-DMM Document 63 Entered on FLSD Docket 06/08/2020 Page 33 of 35



   While agencies may use internal, non-NEPA procedures and documents, such as a supplemental
   information report, to determine if new information requires preparation of a supplemental
   NEPA document, such documents may not “serve as a substitute,” and in any event the record
   here does not indicate the Corps has undertaken such an analysis. See Idaho Sporting Cong., 222
   F.3d at 566. Because the Corps has not supplemented its 2007 SEIS, Conservation
   Organizations’ injuries have not been redressed and their claims remain justiciable.

          II. Conservation Organizations Have Standing

      Conservation Organizations have established that they have Article III standing through
   declarations from their members, who have suffered and will continue to suffer harm due to the
   lack of clarity on how the Corps’ actions influence HABs and the agency’s failure to protect their
   conservation and other interests. Allen Decl.¶¶ 8-15, Nelson Decl. ¶¶ 15-19, Pimm Decl. ¶¶ 7-
   23, Diaz Decl. ¶¶ 15-22, Cassani Decl. ¶¶ 12-27, Estrin Decl. ¶¶ 9-12. Conservation
   Organizations have also met the prudential standing requirement because this claim falls under
   NEPA’s “zone of interests.” Int'l Union v. Brock, 477 U.S. 274, 282 (1986); Ouachita Watch
   League v. Jacobs, 463 F. 3d 1163, 1173 (11th Cir. 2006) (stating that environmental injuries fall
   within NEPA’s zone of interests). Conservation Organizations and their members have also
   suffered a procedural harm from the Corps’ failure to supplement its EIS on LORS. Lujan v.
   Defs. of Wildlife, 504 U.S. 555, 572 (1992).

          III. This Court May Exercise Its Discretion in Tailoring Conservation
               Organizations’ Requested Relief

      This Court should declare that the Corps’ failure to prepare a supplemental EIS violates
   NEPA and the APA because the Corps’ ongoing action of operating LORS without preparing a
   supplemental EIS is arbitrary and capricious, not in accordance with law, and in violation of
   procedure required by law, and because this failure also constitutes a failure to take discrete
   action required by law within the meaning of the Supreme Court’s analysis of 706(1). The Court
   should hold that a supplemental EIS must be prepared and order the Parties to confer on a
   schedule and process in an effort to reach an agreement.
      Section 706(1) of the APA grants the court the power to “compel agency action unlawfully
   withheld or unreasonably delayed,” and NEPA requires federal agencies to perform their NEPA
   obligations “before making a decision with environmental impacts.” Wilderness Watch v.



                                                    19
Case 2:19-cv-14199-DMM Document 63 Entered on FLSD Docket 06/08/2020 Page 34 of 35



   Mainella, 375 F.3d 1085, 1096 (11th Cir. 2004) (“NEPA impose procedural requirements before
   decisions are made in order to ensure that those decisions take environmental consequences into
   account.”); see also Defs. of Wildlife v. Salazar, 877 F. Supp. 2d 1271, 1301-02 (M.D. Fla. 2012)
   (holding the Park Service’s decision to open off-road vehicle trails in Big Cypress National
   Preserve before supplementing its NEPA analysis arbitrary and capricious and requiring it to
   perform a supplemental analysis prior to reopening the trails.); Mainella, 375 F.3d at 1096
   (holding that “[p]ermitting an agency to avoid a NEPA violation through a subsequent,
   conclusory statement that it would not have reached a different result even with the proper
   analysis would significantly undermine the statutory scheme.”).
      While the Court has jurisdiction to vacate and enjoin the underlying action, see Fed. Power
   Comm’n v. Idaho Power Co., 344 U.S. 17, 20 (1952) (“[T]he function of the reviewing court
   ends when an error of law is laid bare. At that point the matter once more goes to the . . .
   [agency] for reconsideration”); Black Warrior Riverkeeper, Inc. v. U.S. Army Corps of Eng’rs,
   781 F.3d 1271, 1290 (11th Cir. 2015) (acknowledging that “vacatur . . . is the ordinary APA
   remedy” (quoting Sierra Club v. Flowers, 526 F.3d 1353, 1369 (11th Cir. 2008)), Conservation
   Organizations do not seek that here. Instead they seek to redress their injuries with an order from
   this Court declaring the Corps is in violation of NEPA and the APA and requiring the agency to
   immediately conduct further analysis and supplement the 2007 SEIS by a date-certain.
   Miccosukee Tribe of Indians, 420 F. Supp. 2d at 1345 (requiring the Corps supplement its
   environmental impact statement within two months.); see also Envtl. Def. Fund v. Marsh, 651
   F.2d 983, 1006 (5th Cir. 1981) (holding “the most important remedy available is that the Corps
   must immediately prepare a supplementary EIS . . . and that “[i]n order to encourage rapid and
   thorough compliance with NEPA, it is appropriate to impose some injunctive remedy until a
   final supplemental EIS is filed.”). Such modest relief is warranted and long overdue.

                                            CONCLUSION

      For the foregoing reasons, Conservation Organizations respectfully request that this Court
   grant their motion for partial summary judgment, declare the Corps is violating the APA and
   NEPA, and order the Corps to immediately supplement the 2007 SEIS.




      Dated this 8th day of June, 2020.          Respectfully submitted,


                                                    20
Case 2:19-cv-14199-DMM Document 63 Entered on FLSD Docket 06/08/2020 Page 35 of 35



                                      /s/Jaclyn Lopez
                                      JACLYN LOPEZ, Trial Counsel
                                      FL Bar No. 96445
                                      Center for Biological Diversity
                                      P.O. Box 2155
                                      St. Petersburg, FL 33731
                                      Tel: (727) 490-9190
                                      jlopez@biologicaldiversity.org

                                      /s/Jason Totoiu
                                      JASON TOTOIU
                                      FL Bar No. 871931
                                      Center for Biological Diversity
                                      P.O. Box 2155
                                      St. Petersburg, FL 33731
                                      Tel: (561) 568-6740
                                      jtotoiu@biologicaldiversity.org




                                        21
